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                         IN THE UNITED STATES DISTRICT COURT

                        FOR THE EASTERN DISTRICT OF VIRGINIA

                                       Richmond Division

TONYA CAMPBELL et al.,
on behalf of themselves and
all others similarly situated,
        Plaintiffs,

       v.                                                    Civil No. 3-22cv34 (DJN)

INTERCONTINENTAL CAPITAL
GROUP, INC.,
     Defendant.
                                            ORDER
                                 (Granting Motion for Extension)

       This matter comes before the Court on the parties’ Consent Motion for Extension,

moving for an extension of time for Defendant to file its responsive pleadings (ECF No. 8). For

good cause shown, and because Plaintiffs consent to an extension, the Court hereby GRANTS

the Motion. Defendant’s responsive pleadings shall be due by March 28, 2022.

       Let the Clerk file a copy of this Order electronically and notify all counsel of record.

       It is so ORDERED.

                                                     _________/s/____________
                                                     David J. Novak
                                                     United States District Judge

Richmond, Virginia
Dated: March 14, 2022
